                        Case 1:22-cr-00214-RCL Document 41 Filed 10/05/22 Page 1 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                               District of Columbia
                                                                           )
              UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
             ANTHONY MICHAEL MAZZIO, JR.                                   )
                                                                           )       Case Number: 22-CR-214 (RCL)
                                                                           )      USM Number: 94451-509
                                                                           )
                                                                           )        Christine Freeman
                                                                           )       Defendant's Attorney
THE DEFENDANT:
lt1 pleaded guilty to count(s)         One (sole count) of the Information
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended               Count
40:5104(e)(2)(G)                  Parading, Demonstrating, or Picketing in a Capitol Building               1/6/2021                      1




       The defendant is sentenced as provided in pages 2 through         _ _ 7_ _         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                              Dis       Dare dismissed on the motion of the United States.
               - - - -- -- - -- - --
         lt is ordered that the defendant must notify the United States attorney forth is district w ithin 30 days of any change ofname, residence,
or mailing address until all fines restitution costs and spec.ial assessments .imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and Unjted tates attorney of material changes in economic cirnumstances.

                                                                                                          10/5/2022
                                                                         Date oflmposition of Judgment




                                                                         Signature of Judge




                                                                                    Honorable Royce C. Lamberth, U.S.D.C. Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 2458 (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2   of   7
DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
CASE NUMBER: 22-CR-214 (RCL)

                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

 60 days




      ~ The court makes the following recommendations to the Bureau of Prisons:

           Placement at facility close to ~ ~:~             ,..,   Alabama, to be close to family .




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D at                                    D a.m.       D p.m.        on
                    - -- - - - - -- -
          D as notified by the United States Marshal.

     0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          Gif   as notified by the United States Marshal or as notified by the Probation or Pretrial Services Office.




                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at _ __ _ __ _ __ _ _ _ _ ___ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                           By - - - - - - - - - - - - - - - - -- -- - -
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245B (Rev. 09/19)
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                       Judgment in a Criminal Case
                       Sheet 4--Probation
                                                                                                                           3_ of
                                                                                                           Judgment-Page _ _                 7
DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
CASE NUMBER: 22-CR-214 (RCL)
                                                                PROBATION
You are hereby sentenced to probation for a term of:


      36 months (3 years)




                                                     MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You m,ust r1:1frain from any unlawful use ofa control1ed substance. You must submjt to one drug test witbfo 15 days of placement on
       probation and at least two periodic drug tests thereafter, as determined by the cou1t.
               D The above drug testing condition is suspended, based on the court's determination that you pose a low 1isk of future
                   substance abuse. (check if applicable)
4.      D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
             as directed by the probatio11 officer, the Bw·eau of Pi"isons, or any state sex offender registration agency in the location where you
             reside, work are a tu dent, or were convicted of a qualifying offense. (check if applicable)
6.      D You must participate in an approved program for domestic violence. (check if applicable)
7.      ~ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8.     You must pay the assessment imposed in accordance with 18 U.S.C. § 3013 .
9.     If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10.    You must notify the court of any material change in your economic circumstances that might affect your abi lity to pay restitution,
       fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                        Judgment in a Criminal Case
                        Sheet 4A - Probation
                                                                                                Judgment-Page   - -~4_ _     of   - -~7~ --
 DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
 CASE NUMBER: 22-CR-214 (RCL)

                                         STANDARD CONDITIONS OF SUPERVISION
As part of y ur probation, you must comply with the followjng standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about and bring about improvements in your conduct and condition.

 1.  You must report to the probation office in the federal judjcial district where you are authorized to reside wi,thin 72 hours of the time
    you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you wi ll receive instructions from the court or the probatfon officer about bow and
     when you must report to the probatfon officer and you must report-to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.  You must answer truthfully the questions asked by your probation officer.
5.  You mu.st live at a p lace approved by the probation officer. lfyou pla□ to change where you live or anything about your living
    a □·angements (such as the people you live with) you must notify the probation officer at least l 0 days before the change. If notifying
    the probation offi.cer i.n advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or e ·pected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take a□y items prohibited by the conditions of your supervision that he or she observes in plain view.
7.  You must work fu ll time (at least 30 hours per week) at a lawful type of employment unless the probation officer excuses you from
    do'ing so. If you do not have fu ll-time employment you must try to find full-time employment, unless tbe probation officer excuses
    you from doing so. lf you plan to change where you work or anytbing abollt your work (such as your position or your job
    responsibil ities) you must notify the probation officer at least 10 days before the change. lf notifying the probation officer at least 10
    days in advance is not possib le due to unanticipated circumstances you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8.  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9.  lfyou are anested or qttestioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or bave access to a fireann, ammunition, destructive device or dangerous weapon (i.e., anything thatwas
    designed or was modified for the specific purpose of causing bodily injury or death to another person sucb as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the·permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You mt1st fol low the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the cond itions specified by the comt and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                   Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4B - Probation
                                                                                           Judgment-Page   -~5-   of
DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
CASE NUMBER: 22-CR-214 (RCL)

                                                ADDITIONAL PROBATION TERMS
 The court authorizes the transfer of supervision to the United States Middle District of Alabama.

 The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
 United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
 Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or
 termination from treatment.

 NOTICE OF APPEAL

Pursuant to 18 USC § 37 42, you have a right to appeal the sentence imposed by this Court if the period of imprisonment is
longer than the statutory maximum. If you choose to appeal , you must file any appeal within 14 days after the Court enters
judgment.

 As defined in 28 USC § 2255, you also have the right to challenge the conviction entered or sentence imposed if new and
 currently unavailable information becomes available to you or, on a claim that you recei ved ineffective assistance of
 counsel in entering a plea of guilty to the offense(s) of conviction or in connection with sentencing.

If you are unable to afford the cost of an appeal, you may request permission from the Court to file an appeal without cost
to you.
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AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 5 - Criminal Mo netary Penalties
                                                                                                                Judgment -   Page       6    of        7
 DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
 CASE NUMBER: 22-CR-214 (RCL)
                                                    CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                Restitution                Fine                       AVAA Assessment*               JVTA Assessment**
 TOTALS              $   10.00                 $    500.00                $                          $                              $



 D     The determination ofrestitution is deferred until
                                                         - -- - -
                                                                  . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

 D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, ·unless specified otherwise i:n
       the priority order or percentage payment column below. Ffowever, pursuant to 18 U.S.C. § 3664(i) all nonJederal victims must be paid
       before the United States is paid.

Name of Payee                                                     Total Loss***                      Restitution Ordered            Prioritv or Percentage
   Architect of the Capitol                                                                                         $500.00

   Office of the Chief Financial Officer

  Attn: Kathy Sherrill, CPA

   Ford House Office Building

   Room H2-205B

  Washington, DC 20515




TOTALS                                 $                0.00                          $              500.00
                                           - - - -- - - -- -                              - -- -- - -- --
D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

liZl   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       liZl   the interest requirement is waived for the          D   fme      liZl   restitution.

       D      the interest requirement for the         D    fme       D   restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of20 15, Pub. L. No. 1 L4-22.
*** Findings for the total amount oriosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September I 3 1994 but before Apri l _3 , 1996.
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                            Judgment- Page   - ~
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 DEFENDANT: ANTHONY MICHAEL MAZZIO, JR.
 CASE NUMBER: 22-CR-214 (RCL)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ~      Lump sum payment of$          510.00             due immediately, balance due

                     not later than
              □                                                , or
              li2l   in accordance with □ C,         □ D,    □ E, or        lil!   Fbelow; or

B     □      Payment to begin immediately (may be combined with           □ c,         □ D,or     D F below); or
C     D Payment in equal            _ __ _ _ (e .g., weekly, monthly, quarterly) installments of $ _ __ over a period of
             _ __ __        (e.g., months or years), to commence _ _ _ __ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal            _ __ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ __ over a period of
                            (e.g., months or years), to commence _ __ __ (e.g. , 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D Payment during the term of supervised release will commence within _ __ __ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     li2]   Special instructions regarding the payment of criminal monetary penalties:
              The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
              Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
              of the Court of the change until such time as the financial obligation is paid in full.



Unless the court hai; expressly ordered otherwise, ifthisjudgment imposes imprisonment,payment ofcriminal monetary penalties is due eluting
the period of imprisonment. All criminal monetary penalties exce'p t those payments made through the Federal Bureau of Prisons' Inmate
Financial Respon sibility Program are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                                   Joint and Several              Corr~sponding_ Payee,
      (including defendant number)                        Total Amount                       Amount                        1f appropnate




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be a_pplied in the following order: (1) assessment, (2) restitution prl11c.ipal., (3) restitution interest, (4) A VAA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
